  Case 19-13448-VFP            Doc 110-1 Filed 03/08/19 Entered 03/08/19 08:04:41                           Desc
                                    Proposed Order Page 1 of 4


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1
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Proposed Counsel to the Debtors and
Debtors-in-Possession


In re:                                                           Chapter 11

Aceto Corporation, et al.,1                                      Case No. 19-13448 (VFP)

                          Debtors.                               Jointly Administered


                       ORDER SHORTENING TIME PERIOD FOR
         NOTICE, LIMITING NOTICE, AND SETTING HEARING FOR APPROVAL OF
              PROPOSED BIDDING PROCEDURES AND BID PROTECTIONS

           The relief set forth on the following pages, numbered two (2) through and including four

 (4), is hereby ORDERED.




 1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
 as follows: Aceto Corporation (0520); Aceto Agricultural Chemicals Corporation (3948); Aceto Realty LLC (7634);
 Rising Pharmaceuticals, Inc. (7959); Rising Health, LLC (1562); Acetris Health, LLC (3236); PACK
 Pharmaceuticals, LLC (2525); Arsynco, Inc. (7392); and Acci Realty Corp. (4433).

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Case 19-13448-VFP                Doc 110-1 Filed 03/08/19 Entered 03/08/19 08:04:41                            Desc
                                      Proposed Order Page 2 of 4
Page:    2
Debtor:  Aceto Corporation, et al.
Case No.:19-13448 (VFP)
Caption: Order Shortening Time Period for Notice, Limiting Notice and Setting Hearing for
         Approval of Proposed Bidding Procedures and Bid Protections
______________________________________________________________________________

           Upon consideration of the Application2 of the above-captioned debtors and debtors-in-

possession (collectively, the “Debtors”) for shortened notice under Fed. R. Bankr. P. 9006(c)(1)

with respect to the Bidding Procedures Motion (defined below), and for cause shown, it is

           ORDERED as follows:

           1.       The time period required by Local Bankruptcy Rule 9013-1 and/or Fed. R. Bankr.

P. 2002 or other rule for notice of a hearing for approval of the Bidding Procedures and Bid

Protections as set forth in the Debtors’ Motion for Orders (I) (a) Authorizing and Approving

Bidding Procedures in Connection with the Sale of Substantially All Assets Comprising the

Debtors’ Pharma Business; (b) Authorizing and Approving Bid Protections; (c) Approving

Procedures for the Assumption and Assignment of Certain Executory Contracts and Unexpired

Leases; (d) Scheduling a Sale Hearing; (e) Approving the Form and Manner of Notice Thereof;

and (f) Granting Related Relief; and (II) (a) Authorizing and Approving the Sale of Substantially

All Assets Comprising the Debtors’ Pharma Business Free and Clear of All Claims, Liens,

Rights, Interests, and Encumbrances, (b) Authorizing and Approving the Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases Related Thereto, and (c)

Granting Related Relief (the “Bidding Procedures Motion”) is hereby shortened as set forth
herein.

           2.       A hearing shall be conducted on the Bidding Procedures and Bid Protections set

forth in the Bidding Procedures Motion on March 15, 2019 at 10:00 a.m. (ET), at the United

States Bankruptcy Court, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Newark,

NJ 07102, before the Honorable Vincent F. Papalia.

           3.       The Debtors shall cause to be served a copy of this Order, the Application for this

Order, and the Bidding Procedures Motion (to the extent that they have not been served to date)

2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application.


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Case 19-13448-VFP           Doc 110-1 Filed 03/08/19 Entered 03/08/19 08:04:41              Desc
                                 Proposed Order Page 3 of 4
Page:    3
Debtor:  Aceto Corporation, et al.
Case No.:19-13448 (VFP)
Caption: Order Shortening Time Period for Notice, Limiting Notice and Setting Hearing for
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______________________________________________________________________________
upon (i) the Office of the United States Trustee for the District of New Jersey; (ii) the Internal

Revenue Service; (iii) the New Jersey Division of Taxation Compliance and Enforcement -

Bankruptcy Unit; (iv) the Office of the Attorney General of the State of New Jersey, Division of

Law; (v) the United States Attorney’s Office for the District of New Jersey; (vi) the New York

State Department of Taxation and Finance; (vii) the Office of the Attorney General of the State

of New York; (viii) the United States Attorney’s Office for the Eastern District of New York;

(ix) the Securities and Exchange Commission, New York Regional Office; (x) McGuireWoods

LLP, c/o Kenneth Noble, Esq., as counsel for the DIP Administrative Agent and Prepetition

Administrative Agent; (xi) McCarter & English LLP, c/o Joseph Lubertazzi, Jr., Esq. and

Deirdre E. Burke, Esq., as local counsel for the DIP Administrative Agent and Prepetition

Administrative Agent, (xii) the Indenture Trustee for the Noteholders; (xiii) Stroock & Stroock

& Lavan LLP, c/o Erez E. Gilad, Esq., Jayme T. Goldstein, Esq., Gabriel Sasson, Esq., and

Joanne Lau, Esq., as counsel for the Committee; (xiv) Porzio, Bromberg & Newman, P.C., c/o

Warren J. Martin, Jr., Esq., Robert M. Schecter, Esq., and Rachel A. Parisi, Esq., as local counsel

for the Committee; (xv) Reed Smith LLP, c/o Derek J. Baker, Esq., as counsel for the Buyer; and
(xvi) all parties that have requested to receive notice pursuant to Bankruptcy Rule 2002, by:

       □         fax (where available)                 □       overnight mail

       □         email (where available)               □       hand delivery

       □         regular mail

       and within
       □      __________ day(s) of the date of this Order; or
       □         on the same date as this Order.

       4.        The notice authorized by this Order is deemed appropriate and adequate under the

circumstances.

       5.        A Certificate of Service must be filed prior to the hearing date.



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Case 19-13448-VFP          Doc 110-1 Filed 03/08/19 Entered 03/08/19 08:04:41             Desc
                                Proposed Order Page 4 of 4
Page:    4
Debtor:  Aceto Corporation, et al.
Case No.:19-13448 (VFP)
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       6.      Any objection to the Bidding Procedures Motion:

                       □      shall be filed and served, so as to be received no later than March

                              13, 2019 at 11:59 p.m. (ET), on:

                                i.   Counsel for the Debtors, Lowenstein Sandler LLP, One

                                     Lowenstein Drive, Roseland, NJ 07901, Attn.: Wojciech F.

                                     Jung,   Esq.    (wjung@lowenstein.com)       and   Michael

                                     Savetsky, Esq. (msavetsky@lowenstein.com); and

                               ii.   Counsel for the Buyer, Reed Smith LLP, 136 Main Street,

                                     Suite 250, Princeton, NJ 08450, Attn.: Derek J. Baker, Esq.

                                     (dbaker@reedsmith.com).

                       □      may be presented at the hearing.

       7.      □       Court appearances are required for the Court to consider the Bidding

Procedures Motion and any objection(s) thereto.

               □       Parties may request to appear by telephone by contacting Chambers prior

to the hearing date.




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